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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


  CHABAD OF KEY BISCAYNE, INC.,                           CASE NO. 1:21-CV-24043-DPG

                 Plaintiff,

  vs.

  SCOTTSDALE INSURANCE COMPANY,

                 Defendant.
                                                      /

              SIC’S RESPONSE TO CHABAD’S STATEMENT OF FACTS [DE 19]

         The Defendant, Scottsdale Insurance Company (“SIC”), pursuant to Fed. R. Civ. P. 56,

  responds to the Statement of Facts [DE 19] filed by the Plaintiff, Chabad of Key Biscayne

  (“Chabad”):

         1.      Admitted that Chabad alleges this.

         2.      Admitted that the appraisal set the amount of damage. Denied if intended to argue

  that the appraisal is binding as to coverage.

         3.      Admitted.

         4.      Admitted.

         5.      Admitted that SIC’s motion speaks for itself.

         6.      Admitted that SIC’s motion speaks for itself.

         7.      Admitted.

         8.      Admitted.




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                                                         Respectfully submitted,

                                                         HINSHAW & CULBERTSON LLP

                                                         /s/ Joseph V. Manzo
                                                         Joseph V. Manzo
                                                         Florida Bar No. 52309
                                                         jmanzo@hinshawlaw.com
                                                         2525 Ponce de Leon Boulevard, 4th Floor
                                                         Coral Gables, Florida 33134
                                                         Telephone: 305-358-7747
                                                         Facsimile: 305-577-1063


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the March 22, 2022, I electronically filed the foregoing

  document with the Clerk of the court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are authorized to

  receive electronically Notices of Electronic Filing.


                                                         /s/ Joseph V. Manzo
                                                         Joseph V. Manzo




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